 8:06-cr-00383-LES-TDT   Doc # 25   Filed: 04/09/07   Page 1 of 1 - Page ID # 38



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR383
                              )
          v.                  )
                              )
LUIS CASTELLANOS-ORTIZ,       )                       ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised that defendant wishes to

enter a plea in this matter.        Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Friday, April 20, 2007, at 11 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        The matter is continued until

that date to accommodate the Court’s schedule.             The ends of

justice will be served by continuing this case and outweigh the

interests of the public and the defendant in a speedy trial.                 The

additional time between April 9, 2007, and April 20, 2007, shall

be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act.          18 U.S.C. § 3161(h)(8)(A)

& (B).

           DATED this 9th day of April, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
